    4:19-cv-04082-SLD-JEH # 10              Page 1 of 1                                        E-FILED
                                                               Wednesday, 21 August, 2019 02:51:33 PM
                                                                          Clerk, U.S. District Court, ILCD

           In the United States District Court for the Central District of Illinois
                                    Rock Island Division


 Cassandra Cleaveland,
    individually, and
    as mother, and next friend of A.C., a
           minor,

         Plaintiff,                                No. 4:19-cv-04082

 vs.

 City of Rock Island,

         Defendant.


                                   Certificate of Service

        The undersigned certifies that the Rule 26(a)(1) Disclosure was served on August
21, 2019 to the plaintiff’s counsel at:
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                                          Respectfully submitted,
                                          The City of Rock Island
                                          By:_/s/ David G. Morrison__________
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